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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §            Case No. 4:05cr198
                                                  §            (Judge Schneider)
 JASON GAMMILL                                    §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on November 15, 2011, to determine whether Defendant violated his supervised

 release. Defendant was represented by Denise Benson. The Government was represented by

 Heather Rattan.

        On July 18, 2006, Defendant was sentenced by the Honorable Ron Clark to seventy (70)

 months’ custody followed by sixty (60) months of supervised release for the offense of Conspiracy to

 Manufacture, Distribute or Dispense Methamphetamine.          On December 13, 2010, Defendant

 completed his period of imprisonment and began service of his supervised term.

        On October 4, 2011, the U. S. Pretrial Services Officer executed a Petition for Warrant for

 Offender Under Supervision. The petition also alleged violation of the following standard condition:

 (1) the defendant shall notify the probation officer within seventy-two hours of being arrested or

 questioned by a law enforcement officer. The petition also alleged violations of the following

 special conditions: (1) Under the guidance and direction of the U.S. Probation Office, the defendant

 shall participate in any combination of psychiatric, psychological, or mental health treatment as

 deemed appropriate by the treatment provider; and (2) the defendant shall participate in a program

 of testing and treatment for drug abuse, under the guidance and direction of the U.S. Probation
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     Office, until such time as the defendant is released from the program by the probation officer. The

     Government dismissed the mandatory allegation.

            Prior to the Government putting on its case, Defendant entered a plea of true to all of the

     remaining violations. The Court recommends that Defendant’s supervised release be revoked.

                                         RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of eleven (11) months with no

     supervised release to follow. It is also recommended that Defendant be housed in the Bureau of

     Prisons, Seagoville Unit.
.
            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.

            SIGNED this 21st day of November, 2011.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES MAGISTRATE JUDGE
